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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                       8:10CR108
                              )
          v.                  )
                              )
DANIEL HORVATH,               )                        ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant’s motion

to continue sentencing (Filing No. 107).              The Court finds the

motion should be granted.      Accordingly,

           IT IS ORDERED that sentencing is rescheduled for:

                 Tuesday, June 28, 2011, at 9 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           DATED this 29th day of March, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
